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                IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF OKLAHOMA

  CHRIS WILLIAMSON

                              Plaintiff,

  v.                                                    Case No. CIV-08-00465-CVE-TLW

  ACADEMY COLLECTION SERVICE, INC.

                              Defendant.

                        MOTION FOR RELEASE OF JUDGMENT

                COMES NOW, Defendant Academy Collection Service, Inc. (“Academy”)

  pursuant to Fed. R. Civ. Proc. No. 60(C) and requests that the Court enter an Order

  releasing Academy from judgment filed on May 6, 2009 (Document No. 40). In support of

  said Motion, Academy states as follows:

                1.     Judgment was entered in favor of Plaintiff, Chris Williamson against

  Defendant, Academy in the amount of Four Thousand Dollars ($4,000.00) plus post-

  judgment interest, plus the cost of the action pursuant to our accepted Offer of Judgment.

                2.     On May 7, 2009, Academy delivered a check to Plaintiff’s counsel in

  full satisfaction of Mr. Williamson’s Judgment.

                3.     On May 19, 2009, Plaintiff filed an “Application For Attorney’s Fees

  and Cost” (Document No. 41). A settlement was reached regarding those fees and costs (for

  $9,187.50) and the Plaintiff filed a Withdrawal of Application for Attorney Fees and Costs

  (Document No. 43).
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                 4.     On June 4, 2009, Academy sent the final check in settlement of the

  attorney fees in this matter.

                 5.     Both checks have been endorsed and deposited.

                 6.     Since that date, Defendant has requested that Plaintiff file a Release

  and Satisfaction of Judgment on multiple occasions (See Exh. 1, multiple e-correspondence

  from Academy’s attorney Kelsie Orendorff to Plaintiff’s attorney Russell Abbott requesting

  he file Release and Satisfaction of Judgment.) However, to date, Plaintiff has not executed

  the Release and Satisfaction of Judgment prepared by Plaintiff’s attorney. (See Exh. 2,

  proposed Release and Satisfaction of Judgment.).

                 7.     Defendant has met all its obligations under the Settlement Agreement

  and the Judgment. Thus, Academy requests that the Court issue a notice releasing it from

  further obligations under the judgment. Under Rule 60(c), the

                 Court may relieve a party or its legal representatives from a
                 final judgment, order or proceeding . . . (5), if the judgment has
                 “been satisfied, released or discharged.”

  The judgment in this case has been satisfied.

                 WHEREFORE, Academy requests that the Court release it from the judgment

  entered in this matter.




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                                               Respectfully submitted,

                                                s/ KELSIE S. ORENDORFF
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                                               KELSIE S. ORENDORFF
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                                               Attorneys for Defendant,
                                               Academy Collection Service, Inc.

                              CERTIFICATE OF SERVICE

               I hereby certify that on the August 6, 2009, I electronically transmitted the
  attached document to the Clerk of Court using the ECF System for filing and transmittal
  of a Notice of Electronic Filing to the following ECF registrants:

   Russell D. Abbott, OBA #18201
   320 South Boston Avenue, Suite 1107
   Tulsa, OK 74103
   Telephone: 918.584.3744
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   Attorney for Plaintiff



                                                  s/ KELSIE S. ORENDORFF
  53910




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